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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                            Judge Charlotte N. Sweeney

Lead Civil Action No. 1:20-cv-02551-CNS-KAS
Consolidated with Civil Action No. 1:21-cv-00068-CNS-KAS

THE CAPTURE ELEVEN GROUP, a California corporation,

      Plaintiff/Counter-Defendant,

v.

OTTER PRODUCTS, LLC, a Colorado limited liability company,

      Defendant/Counter-Plaintiff/Cross-Claimant,

v.

VERITY HOSKINS PRODUCTION, INC.,

      Third-Party Defendant.


                                         ORDER


      The Court has thoroughly analyzed the parties’ dueling post-trial briefs on the

issues of revocation. ECF No. 319 (Plaintiff’s Opening Brief); ECF No. 320 (Defendant’s

Opening Brief); ECF No. 321 (Defendant’s Response); ECF No. 322 (Plaintiff’s

Response). For the reasons below, the Court agrees with Plaintiff The Capture Eleven

Group that the jury’s verdict should not be disturbed.

                                   I. BACKGROUND

      Plaintiff filed its complaint in this matter on August 24, 2020, alleging infringement




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of photographs taken at productions planned, organized, and funded by Defendant Otter

Products, LLC. Plaintiff pursued claims limited to images taken at four productions:

Riverside, Oceanside, San Diego, and Vancouver (the Asserted Images). The trial

proceeded to verdict on March 12, 2024, where the jury found that “Otter use[d] the

images asserted in the ’648 Registration and its ’728 Supplement outside the scope of

any implied license.” See ECF No. 309 (verdict form) at 2, question 4. The jury also found

that “Otter use[d] the images asserted in the ’647 Registration and its ’732 Supplement

outside the scope of any implied license.” Id. at 3, question 9. The jury went on to find

that “the amount of Otter’s profit attributable, if any, to the use of the asserted images

listed above that was outside the scope of an implied license for the time periods listed

below.” Id. at 5, question 11. The jury found the value of actual damages for, and profits

attributable to, use of the Asserted Images to be $114,000 and $3 million, respectively.

Id. at 2, question; id. at 4, question 10; id. at 5, question 11.

       Following the verdict, the Court determined that it would be prudent to determine

the issue of revocation before judgment enters. ECF No. 310. It thus directed the parties

to brief the issue of revocability, which the parties did in ECF Nos. 319–22. That issue is

now ripe.

                                        II. ANALYSIS

       Plaintiff argues that any determination regarding revocation is unnecessary

because whether any implied license was revoked will not affect the jury’s verdict in this

case. ECF No. 319 at 1–2. Defendant argues that the Court must reach a decision on




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revocation because the license is irrevocable and thus the jury’s verdict must be

overturned. The Court agrees with Plaintiff.

       Following a week-long trial, the jury determined that Defendant used the asserted

images outside the scope of any implied license. ECF No. 309 at 2, question 4; id. at 5,

question 11. It thus follows that there was nothing Plaintiff needed to revoke because

outside of scope uses were not allowed by any implied license in the first place. Stated

differently, whether the implied license was revoked is irrelevant because use outside the

scope of an implied license is by definition unlicensed and not permitted use and, thus,

there is nothing to revoke. This is consistent with the Court’s jury instruction number 26

regarding “Revocation of Implied License,” which states, “[i]f you find that an implied

license existed and that Otter’s use did not exceed its scope, the Court will determine

whether that implied license was revoked.” See ECF No. 307 at 29 (emphasis added).

       Defendant does not explain any legal basis for the Court to expand the scope of

the implied license beyond the jury’s factual finding or to reverse the jury’s finding that

Defendant’s use of the Asserted Images was outside the scope. Indeed, Defendant’s

argument centers around the damage time frames that it suggested. Though tempting,

the Court remains convinced that the jury understood and followed the Court’s

instructions. In that vein, Defendant fails to demonstrate that the jury’s verdict was not

supported by substantial evidence. Absent such a finding, the Court cannot set aside the

jury’s findings.

       Further, the Court is convinced that there are multiple possible bases for the jury’s

determinations. Four examples bear this out. First, a juror asked Mr. L’Heureux a question


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related to the subject time periods and was unrelated to revocation: “Can you provide

dates or date ranges of the screenshots presented as evidence of improper use?” See

ECF No. 322 at 3. Mr. L’Heureux responded that he believed it was May 28 or June 28,

2018. Id. It is reasonable that the jury could have found that Plaintiff only proved

infringement after May 28, 2018. Second, the Court instructed the jury that it would decide

whether any implied license was revoked. Instruction number 26 asked, “[i]f you find that

an implied license existed and that Otter’s use did not exceed its scope, the Court will

determine whether that implied license was revoked.” ECF No. 327 at 29. The jury found

that Otter’s use did exceed the scope of any implied license, and there is no basis to

conclude that the jury ignored the Court’s explicit instructions.

       Third, Defendant’s closing argument explicitly referenced and reminded the jury of

the Court’s instruction for them to not to determine the issue of revocation: “[t]he judge is

reserving that question [of revocation], so you’re not going to see that on your verdict

form. When you think about implied license, you should think about that separate from

that issue.” And fourth, the verdict form question concerning profits explicitly asked the

jury to make its award for “the use of the asserted images listed above that was outside

the scope of an implied license for the time periods listed below.” ECF No. 309 at 5,

question 11 (emphasis added). This question is expressly limited to outside of scope

uses, for which revocation is irrelevant.

       Lastly, the Court finds that Defendant waived any claim of inconsistency by not

objecting to the verdict before the jury was discharged because the verdict was a general

verdict with interrogatories.


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          Because the jury determined that Otter’s use did exceed the scope of any implied

license, it is not necessary for the Court to reach the issue of revocation. 1

                                          IV. CONCLUSION

          Consistent with the above analysis, the Court declines to disturb the jury’s verdict.

The Court orders as follows:

    (1)    The Clerk of Court is directed to deny as moot the pending post-trial briefs, ECF

           Nos. 319 and 320, and enter judgment in favor of Plaintiff The Capture Eleven

           Group against Defendant Otter Products, LLC.

    (2)    The Clerk of Court is directed to close the consolidated case 1:21-cv-00068-

           CNS-KAS, Capture Eleven Group, The et al v. Otter Products, LLC et al.

    (3)    The Court orders that Defendant Otter Products, LLC confer with Third-Party

           Defendant Verity Hoskins Production, Inc. and then provide the Court with a

           Status Report by November 15, 2024, to include if it is requesting that stay

           entered at ECF No. 98 be lifted.

          DATED this 5th day of November 2024.

                                                          BY THE COURT:



                                                          ______________________________
                                                          Charlotte N. Sweeney
                                                          United States District Judge




1 Because the jury determined that Otter’s use exceeded the scope any implied license, the Court declines

to consider whether Plaintiff revoked the implied licenses.

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